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                     IN THE UNITED STATES DISTRICT COURT U ELI z O-'i T
                    FOR THE SOUTHERN DISTRICT OF GEORGI A
                              WAYCROSS DIVISION
                                                                          700b DEC -8 P 1 40

UNITED STATES OF AMERICA

      V.                                                  CASE NO . : CR506-00 6


DERRICK ALAN MELTON, a/kla
 Derrick Antwon Melton,
CLIFFORD MARTI N
KING ISAAC BARBER
ERIC DEWAYNE BONEY
TETRINA LEE YOUN G
                     Defendants .




                                         ORDE R

       On December 7, 2006, Defendant Clifford Martin appeared, with counsel, for a

hearing to determine whether his pretrial release should be modified or vacated due to

allegations that he violated the conditions previously imposed . Martin, through counsel,

advised the Court that he did not contest the allegations that he violated the conditions

of his pretrial release . He also stated that he did not contest the entry of an order that he
be detained, without bond, pending resolution of this case . Accordingly, IT IS HEREBY
ORDERED that the Order Setting Conditions of Release for Defendant Martin is hereby

vacated, and he shall be detained, without bond, pending resolution of this case .

       SO ORDERED , this       $ Tay of December, 2006 .



                                                 I N M ES E . GRAHAM
                                                      ITED STATES MAGISTRATE JUDGE
